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                                                                    John M. Pierce
                                                                    Managing Partner
                                                                    355 S. Grand Avenue, 44th Floor
                                                                    Los Angeles, CA 90071
                                                                    jpierce@piercebainbridge.com
                                                                    (213) 400-0725

VIA ECF

September 8, 2021

District Court of District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

       RE. Notice Regarding Defense Counsel John Pierce, Esq.

This notice is in response to the government's notice filed on August 30, 2021. I greatly appreciate the
government's expressions of compassion and hope for recovery.

I am pleased to report that on Sunday, September 5, 2021, I was released from an LA-area hospital
following a 12-day stay. I was not “missing” or anything of the sort.

While I am doing well, my doctor has advised that I not resume a full-time schedule or participate in any
court hearings until Monday, September 13th, as my recuperation continues this week. I expect to be fully
operational next week.

I cannot begin to express my gratitude to the court, my clients and counsel for their patience during this
time. I also am deeply grateful for the amazing care I received from the doctors, nurses and staff who
cared for me.

I would also like to especially thank Ryan Marshall, a young associate at my firm whose admission is
pending. As I learn for the first time about the confusion and intense media coverage that accompanied
my hospitalization, Ryan clearly did an incredible job under immensely difficult circumstances with the
limited information he had at the time.

The morning I went into the hospital was extremely chaotic. Mr. Marshall was simply passing along his
best and honest understanding of the circumstances surrounding my hospitalization. I am grateful for his
stellar efforts and the efforts of my entire law firm while I was hospitalized.

I do feel it is important to take issue with the way the DOJ characterized Mr. Marshall’s appearances in
court. To the best of my knowledge, all of the judges that Ryan appeared before were made aware he is
awaiting admission to the bar but nevertheless approved him to speak on my behalf for the purpose of
explaining to the court my absence. I believe Mr. Marshall acted appropriately in explaining to the courts
my absence and in ensuring that Pierce Bainbridge’s clients’ interests were fully protected at all times.



                                         Pierce Bainbridge P.C.
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Moreover, in each instance where Mr. Marshall spoke in my absence, to the best of my knowledge, the
DOJ was apprised of Mr. Marshall’s admission status and that he was working under my supervision.

Thank you for your time and consideration.

PIERCE BAINBRIDGE P.C.

/s/ John M. Pierce
